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                                                                                    ASSET CASES

Case No.:                     21-31134-SGJ                                                                                             Trustee Name:                            Areya Holder Aurzada
Case Name:                    NIEMAN PRINTING, INC. AND SGM TECHNOLOGIES, INC.                                                         Date Filed (f) or Converted (c):         09/08/2021 (c)
For the Period Ending:        06/30/2022                                                                                               §341(a) Meeting Date:                    10/13/2021
                                                                                                                                       Claims Bar Date:                         01/17/2022

                                  1                                 2                        3                                 4                        5                                       6

                         Asset Description                        Petition/           Estimated Net Value                   Property               Sales/Funds            Asset Fully Administered (FA)/
                          (Scheduled and                        Unscheduled          (Value Determined by                   Abandoned              Received by            Gross Value of Remaining Assets
                     Unscheduled (u) Property)                     Value                    Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                    Less Liens, Exemptions,
                                                                                       and Other Costs)

 Ref. #
1       Prosperity Bank                                             $12,110.00                                $0.00                                          $0.00                                          FA
2       Accounts receivable 90 days old or less                    $500,000.00                       $500,000.00                                      $112,882.13                                   $387,117.87
3       Raw materials Inventory                                         $1,000.00                      $1,000.00                                             $0.00                                    $1,000.00
4       desk, tables, file cabinets, computers, chairs              $20,000.00                        $20,000.00                                       $20,000.00                                           FA
5       Large Bax Truck, Small Box truck, Van                       $20,000.00                        $30,000.00                                       $30,000.00                                           FA
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                                                                               ASSET CASES

Case No.:                   21-31134-SGJ                                                                                       Trustee Name:                            Areya Holder Aurzada
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For the Period Ending:      06/30/2022                                                                                         §341(a) Meeting Date:                    10/13/2021
                                                                                                                               Claims Bar Date:                         01/17/2022

                               1                                  2                     3                              4                        5                                       6

                       Asset Description                        Petition/        Estimated Net Value                Property               Sales/Funds            Asset Fully Administered (FA)/
                        (Scheduled and                        Unscheduled       (Value Determined by                Abandoned              Received by            Gross Value of Remaining Assets
                   Unscheduled (u) Property)                     Value                 Trustee,               OA =§ 554(a) abandon.         the Estate
                                                                               Less Liens, Exemptions,
                                                                                  and Other Costs)

6       equipment located at shop (see attached):                $600,000.00                    $600,000.00                                   $515,000.00                                           FA
        Heidelberg SM 102 Offset Press SN: 541311
        HP Indigo 7800
        Xeox Nuverra
        Xerox Nuverra
        Xerox Nuverra
        Xerox Nuverra
        Xerox lgen
        Xerox lgen
        Agfa Jeti Mira Flatbead Wide Format Printer
        Eska Kogsberg Router
        HP Scitex Latex Printer
        HP Scitex Latex Printer
        Epson Proofer
        Epson Proofer
        Epson Proofer
        Sentry Orion Pallet Wrapper
        Shanklin Autowrapper w/ Auto lnfeed and
        Shrink Tunnel
        Theisen and Bonitz 10 Pocket Saddlewire Binder
        Hand Stitcher
        Ryobi 4 Color Offset Press
        Heidelberg Varimatrix 105CS
        Brausse Folder Gluer
        Jungheinrich Electric Forklift with Clamp
        Attachment
        Kaeser Rotary Screw Compressor
        Sullair SRD 400 Compressor
        JBI Auto Punch
        JBI Wire Closer
        Challenge 3 Hole Drill
        Polar Lift
        Polar N115 SN: 8636021
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                                                                              ASSET CASES

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For the Period Ending:     06/30/2022                                                                                    §341(a) Meeting Date:                    10/13/2021
                                                                                                                         Claims Bar Date:                         01/17/2022

                               1                                 2                     3                         4                        5                                       6

                       Asset Description                       Petition/        Estimated Net Value           Property               Sales/Funds            Asset Fully Administered (FA)/
                        (Scheduled and                       Unscheduled       (Value Determined by           Abandoned              Received by            Gross Value of Remaining Assets
                   Unscheduled (u) Property)                    Value                 Trustee,          OA =§ 554(a) abandon.         the Estate
                                                                              Less Liens, Exemptions,
                                                                                 and Other Costs)

        Stahl 30" Folder SN: 161UB0005
        Stahl 26" Folder SN: 48091
        Stahl B-30 BRD SN: 702126
        Stahl B-30 BRD SN: 703294
        Stahl B-30 BRD SN: 703751
        Stahl ST90 4 Pocket Saddle Binder SN
        090360021
        Muller Bravo Plus 6 Pocket Saddle Binder
        Stahl VFZ Knife Folder SN: 702175 Graphic
        Equipment Pile Turner
        Encore Electric Reach Pallet Lift
        Genie Lift
        Heidelberg ST 90 8 Pocket Saddle Binder
        Moll Folder Gluer SN: MSP1036-08
        Moll Folder Gluer SN: VSTP1070-08 Clark
        Electric Forklift
        Stahl VBF 3 Knife Trimmer
        Kodak Trendsetter CTP SN: TJ1616 Kodak
        Trendsetter CTP SN: TJ1715 Miscellaneous
        Computers and Printers Trane Compressor
        Crown Forklift
        Net Jet Inkjet Mailing System w/ IR Dryer
        Pallet Scale
        Hawk 600V Ink Jet
        Hawk 600V Ink Jet
        Net Jet Inkjet Mailing System w/ IR Dryer
        Kirk Rudy Tabber
        Kirk Rudy Tabber
        Mail Inserter
        Mail Inserter
        Audion Shrink Wrapper
        Lantech Auto Wrapper
        Miscellaneous Pallet Jacks
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                                                                                           ASSET CASES

Case No.:                     21-31134-SGJ                                                                                                    Trustee Name:                            Areya Holder Aurzada
Case Name:                    NIEMAN PRINTING, INC. AND SGM TECHNOLOGIES, INC.                                                                Date Filed (f) or Converted (c):         09/08/2021 (c)
For the Period Ending:        06/30/2022                                                                                                      §341(a) Meeting Date:                    10/13/2021
                                                                                                                                              Claims Bar Date:                         01/17/2022

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                         Asset Description                               Petition/           Estimated Net Value                   Property               Sales/Funds            Asset Fully Administered (FA)/
                          (Scheduled and                               Unscheduled          (Value Determined by                   Abandoned              Received by            Gross Value of Remaining Assets
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                                                                                           Less Liens, Exemptions,
                                                                                              and Other Costs)

7       Claims against numerous employees who left the                            $0.00                              $0.00                                          $0.00                                          FA
        company and are acting in violation of
        non-compete and non-solictaton agreement
8       CLaims against the neimans for failure to                                 $0.00                       Unknown                                               $0.00                                   Unknown
        disclose information in connection with the sale
        of the business
9       Areya Holder Trustee (Trustee DIP Account)                         $77,978.00                       $112,760.50                                      $112,760.50                                           FA
10      The Hartford Insurance: Refund and 2019 and              (u)              $0.00                      $17,985.50                                       $17,985.50                                           FA
        2020 Dividend Computation
11      Settlement Bourland, Wall & Wenzel, P.C.                 (u)              $0.00                      $15,000.00                                             $0.00                                  $15,000.00
        regarding pre-petition transferred assets
12      Settlement with Aman Kumar and Anand                     (u)              $0.00                      $25,000.00                                             $0.00                                  $25,000.00
        Printing and Machinary, Inc. - adversary
        proceeding 21-3044 asserting claims of
        fraudulent transfer with respect to the 2017
        Heidelberg Model CD-102--6+L Six Color
        printing press
13      Potential chapter five causes of action                  (u)              $0.00                       Unknown                                               $0.00                                   Unknown
        (fraudulent transfer and preference)
14      potential claims against the Debtors’ principal,         (u)              $0.00                       Unknown                                               $0.00                                   Unknown
        as well as collection of the sanctions awarded
        against Debtor's principal
15      Insurance refund                                         (u)              $0.00                       $1,167.35                                        $1,167.35                                           FA
16      Central Bank of St. Louis - Checking Account                           $1,300.00                      Unknown                                               $0.00                                   Unknown
Asset Notes:      List on SGM Technology, Inc.'s schedule A/B.
17      SGM Accounts Receivable                                                   $0.00                       Unknown                                               $0.00                                   Unknown
Asset Notes:      List on SGM Technology, Inc.'s schedule A/B.
18      Nieman Printing, Inc. (100%)                                              $0.00                              $0.00                                          $0.00                                          FA
Asset Notes:      List on SGM Technology, Inc.'s schedule A/B.
19      2015 Cannon Printer                                                    $1,000.00                      Unknown                                               $0.00                                   Unknown
Asset Notes:      List on SGM Technology, Inc.'s schedule A/B.
20      Cutter (broken)                                                         $250.00                       Unknown                                               $0.00                                   Unknown
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                                  1                                                2                              3                                   4                          5                                        6

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                                                                                                            and Other Costs)

Asset Notes:       List on SGM Technology, Inc.'s schedule A/B.
 Ref. #
21      Potential additional assets of SGM Technologies             (u)                  $0.00                               Unknown                                                  $0.00                                   Unknown


TOTALS (Excluding unknown value)                                                                                                                                                                        Gross Value of Remaining Assets
                                                                                 $1,233,638.00                          $1,322,913.35                                           $809,795.48                               $428,117.87




     Major Activities affecting case closing:
      07/28/2022      The Trustee and her counsel are in the process of analyzing and pursing potential chapter 5 claims, potential claims against Debtor's principal and collection sanctions awarded against
                      Debtor's principal. Additionally, the Trustee and her counsel are investigating potential assets of SGM Technologies.


 Initial Projected Date Of Final Report (TFR):            06/30/2023                             Current Projected Date Of Final Report (TFR):            06/30/2023                 /s/ AREYA HOLDER AURZADA
                                                                                                                                                                                     AREYA HOLDER AURZADA
